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Counsel for Highland Capital Management, L.P.


                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                                                             §
In re:
                                                             §   Chapter 11
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., 1
                                                             §   Case No. 19-34054-sgj11
                                                             §
                                 Debtor.
                                                             §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                             §
                                                             §   Adversary Proceeding No.
Plaintiff,
                                                             §
                                                             §   21-03000-sgj
vs.
                                                             §
                                                             §
HIGHLAND CAPITAL MANAGEMENT FUND
                                                             §
ADVISORS, L.P., NEXPOINT ADVISORS, L.P.,
                                                             §
HIGHLAND INCOME FUND, NEXPOINT

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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STRATEGIC OPPORTUNITIES FUND,
NEXPOINT CAPITAL, INC., AND CLO
HOLDCO, LTD.,

                               Defendants.

                            NOTICE OF CONTINUED HEARING

        PLEASE TAKE NOTICE that the hearing on the following matter is scheduled to be

continued on February 17, 2021 at 9:30 a.m. (Central Time) (the “Hearing”) in the above-

captioned adversary proceeding (the “Adversary Proceeding”):

        1.       Plaintiff’s Emergency Motion for a Temporary Restraining Order and
                 Preliminary Injunction against Certain Entities Owned and/or Controlled by Mr.
                 James Dondero [Docket No. 5] (the “Motion”).

        The Hearing on the Motion will be held before The Honorable Stacey G. C. Jernigan,

United States Bankruptcy Judge, at the United States Bankruptcy Court for the Northern District of

Texas (Dallas Division), Earle Cabell Federal Building, 1100 Commerce Street, 14th Floor,

Courtroom No. 1, Dallas, Texas 75242-1496.

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Dated: February 5, 2021.           PACHULSKI STANG ZIEHL & JONES LLP

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